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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                            December 27, 2023
                          FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

IN RE:                             §
                                   §                      CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,          §
                                   §                      CHAPTER 11
      Debtor.                      §
                                   §
GALLERIA 2425 OWNER LLC,           §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                      ADVERSARY NO. 23-3263
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §
NEW YORK BRANCH                    §
AND AZEEMEH ZAHEER,                §
                                   §
      Defendants.                  §

                          ORDER SEVERING AND REMANDING CLAIM

        This matter is before the Court on the Emergency Motion to Sever and Remand on Grounds
of Abstention or, Alternatively, Equitable Remand and Discretionary Abstention (ECF No. 2) filed
by the defendant, Rodney Drinnon. A response was filed in opposition by the plaintiff and the
debtor in the underlying bankruptcy case, Galleria 2425 Owner, LLC (ECF No. 12). The defendant
requests this Court sever him from the suit and remand his claim under the Texas Citizens
Participation Act, Tex. Civ. Prac. & Rem. Code 27.001, et seq., (the “TCPA Claim”) to the 281st
Judicial District Court of Harris County, Texas under Cause No. 2023-22748 (“the State Court
Action”) pursuant to 28 U.S.C. § 1334(c), or, alternatively, under the principles of equitable
remand and discretionary abstention under 28 U.S.C. § 1452(b) and 28 U.S.C. § 1334(c)(1). For
the following reasons, this motion is granted regarding Rodney Drinnon and his claim.

       In its response, the plaintiff states that it intended to remove the defendant as a party prior
to the removal of the State Court Action to this court by amending the petition for relief.
Accordingly, the Court finds Rodney Drinnon should be severed from this adversary. The live
pleading in this removed case is now the Sixth Amended Petition, that was filed on December 17,
2023, in Harris County, Texas.1 The defendants are the National Bank of Kuwait, S.A.K.P., New
York Branch and Azeemeh Zaheer.

        The State Court Action was removed to this Court on December 18, 2023, by the plaintiff
asserting that it is related to the debtor’s bankruptcy case. Plaintiff’s response states that the
removal of the State Court Action was not intended to thwart Rodney Drinnon’s pursuit of his
1
    ECF No. 1-2, pages 917-946.
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TCPA Claim. Further, the plaintiff’s response admits that the Fifth Circuit has determined that
claims under the TCPA are inconsistent with the federal rules and are not compatible and not
applicable.2 This Court has already entered an order in the underlying bankruptcy case lifting the
automatic stay regarding this claim. Accordingly, the Court finds that it does not have jurisdiction
over Rodney Drinnon’s claims under the TCPA, and remands those claims to the 281st Judicial
District Court of Harris County, Texas. The Court makes no findings whether any claims by or
against the plaintiff/debtor other than those by Rodney Drinnon in the State Court Action have
been remanded.

           IT IS THEREFORE ORDERED that Rodney Drinnon is severed from this adversary.

        IT IS FURTHER ORDERED that Rodney Drinnon’s TCPA claim, and any defenses
asserted by or against the plaintiff/debtor are remanded to the 281st Judicial District Court of Harris
County, Texas, and the automatic stay is lifted for the purpose of allowing the hearing and ruling
on the Texans Citizens Participation Act motion pending in Case No. 2023-22748, in the 281st
Judicial District Court of Harris County, Texas.3

      IT IS FURTHER ORDERED that the hearing on the Emergency Motion of Defendant
Rodney Drinnon to Sever and Remand on Grounds of Abstention or, Alternatively, Equitable
Remand and Discretionary Abstention scheduled for December 28, 2023, is cancelled.

            SIGNED 12/27/2023


                                                              ___________________________________
                                                              Jeffrey Norman
                                                              United States Bankruptcy Judge




2
    Response, ECF No. 12, page 4, citing Knock v. Watson, 936 F.3d 240 (5TH Cir. 2019).
3
    See order in the main case, Case No. 23-34815, ECF No. 62.
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